          Case 1:18-cv-10620-GHW Document 155 Filed 11/09/20 Page 1 of 1
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                                                                        ELECTRONICALLY FILED
UNITED STATES DISTRICT COURT
                                                                        DOC #: _________________
SOUTHERN DISTRICT OF NEW YORK
                                                                        DATE FILED: 11/9/20
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VERRAGIO, LTD.,                                                   :
                                                                  :
                                                    Plaintiff, :
                                                                  :        1:18-cv-10620-GHW
                              -against-                           :
                                                                  :            ORDER
WALMART STORES, INC. and K&M                                      :
ASSOCIATES, L.P.,                                                 :
                                                                  :
                                                 Defendants. :
------------------------------------------------------------------X
GREGORY H. WOODS, United States District Judge:
         The jury trial scheduled to begin on January 11, 2021 is adjourned to Monday, March 15,

2021 at 9:00 a.m. The jury trial will be held in the United States District Court for the Southern

District of New York, Daniel Patrick Moynihan U.S. Courthouse at 500 Pearl Street, New York,

New York 10007, in a courtroom to be identified closer to trial.

         The final pretrial conference scheduled for Thursday, December 3, 2020 is adjourned to

Monday, January 11, 2021 at 10:00 a.m. The final pretrial conference will be held via conference

call. The parties are directed to use the conference call dial-in information and access code noted in

the Court’s Emergency Rules in Light of COVID-19 available on the Court’s website, and are

specifically directed to comply with Emergency Rule 2(C).

         SO ORDERED.

 Dated: November 9, 2020                                      _____________________________________
 New York, New York                                                    GREGORY H. WOODS
                                                                      United States District Judge
